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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION


 HYC LOGISTICS, INC.,                  )
                                       )
       Plaintiff/                      )
       Counter-Defendant,              )
                                       )
 v.                                    )        No. 23-cv-02050-TLP-tmp
                                       )
 JACOB WEISS, INDIVIDUALLY,            )
                                       )
       Defendant,                      )
                                       )
 AND                                   )
                                       )
 OJCOMMERCE, LLC D/B/A                 )
 OJ COMMERCE, LLC,                     )
                                       )
       Defendants/                     )
       Counter-Plaintiffs,             )
                                       )
 v.                                    )
                                       )
 ITAMAR ARONOV, URI SILVER,            )
 ANTONIO HERNANDEZ,                    )
 DAYANA DIAZ, AND                      )
 562 EXPRESS, INC.,                    )
                                       )
       Counter-Defendants.             )


  ORDER GRANTING IN PART AND DENYING DEFENDANTS’ MOTIONS TO COMPEL
                   DISCOVERY (ECF NOS. 95 AND 111)


       Before the court is defendants’ Second Motion to Compel

 Discovery, filed on January 25, 2024, and Motion to Compel,

 filed on February 16, 2024. (ECF Nos. 95, 111.) The motions were

 referred to the undersigned on January 31, 2024, and February
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 21, 2024, respectively. (ECF Nos. 100, 112.) For the reasons

 below, the motions are GRANTED IN PART AND DENIED IN PART.

         On   February       29,    2024,    the    undersigned      conducted      an    in-

 person       hearing       on     these     motions,       where    counsel      for     HYC

 Logistics, Inc. (“HYC”) and the counter-defendants and counsel

 for OJCommerce, LLC d/b/a OJ Commerce, LLC (“OJCommerce”) and

 Jacob Weiss were present. Regarding OJCommerce’s Second Motion

 to     Compel,      the    undersigned       orders    first       that   HYC    serve    a

 verified response to the defendants that it has no documents

 underlying the itemized charges in its invoices. This response

 must be served by March 5, 2024. Second, the undersigned orders

 that the parties have until the close of business on March 1,

 2024, to agree to keyword search terms that 562 Express, Inc.

 (“562”)      must    run    on     its    emails    from    December      2022    for   the

 agreed-upon period of time. Counsel for 562 will then have until

 March 10, 2024, to review the results and provide the defendants

 with    any    other      relevant,        non-privileged      emails     he     uncovers.

 Regarding OJCommerce’s February 16, 2024 motion, the undersigned

 orders       that     HYC       provide     OJCommerce       with     dates      for     the

 depositions of Eli Schechter, Antonio Hernandez, and Dayana Diaz

 no later than March 6, 2024. The depositions shall be completed

 by the discovery deadline of March 29, 2024.

         IT IS SO ORDERED.



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                                   s/Tu M. Pham              _________
                                   TU M. PHAM
                                   Chief United States Magistrate Judge

                                   February 29, 2024__________________
                                   Date




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